           Case 1:09-vv-00745-UNJ Document 83 Filed 06/09/14 Page 1 of 8




In the United States Court of Federal Claims
                              OFFICE OF SPECIAL MASTERS

************************ *
MICHAEL T. and JILLIAN A. SHIFFLETT, *
parents and natural guardians of    *                     No. 09-745V
ABIGAIL SHIFFLETT, a minor,         *                     Special Master Christian J. Moran
                                    *
                   Petitioners,     *                     Filed: April 30, 2014
                                    *
v.                                  *                     Stipulation; Trivalent influenza
                                    *                     (“flu”) vaccine; mononeuropathy
                                    *                     and esotropia.
SECRETARY OF HEALTH                 *
AND HUMAN SERVICES,                 *
                                    *
                   Respondent.      *
************************ *

Ramon Rodriguez, III, Rawls, McNelis & Mitchell, P.C., for Petitioner;
Glenn A. Macleod, U.S. Department of Justice, Washington, DC, for Respondent.

                                 UNPUBLISHED DECISION 1

       On April 25, 2014, respondent filed a joint stipulation concerning the petition
for compensation filed by Michael T. and Jillian A. Shifflett, on behalf of their
daughter, Abigail Shifflett, on October 30, 2009. In their petition, the Shiffletts
alleged that the Trivalent influenza (“flu”) vaccine which Abigail received on
November 9, 2006, which is contained in the Vaccine Injury Table (the “Table”), 42
C.F.R. §100.3(a), caused her to suffer mononeuropathy of the 6th cranial nerve and
esotropia. Petitioners represent that there has been no prior award or settlement of a
civil action for damages on Abigail’s behalf as a result of her alleged vaccine injury.


       1
         The E-Government Act of 2002, Pub. L. No. 107-347, 116 Stat. 2899, 2913 (Dec. 17,
2002), requires that the Court post this decision on its website. Pursuant to Vaccine Rule 18(b), the
parties have 14 days to file a motion proposing redaction of medical information or other
information described in 42 U.S.C. § 300aa-12(d)(4). Any redactions ordered by the special master
will appear in the document posted on the website.
            Case 1:09-vv-00745-UNJ Document 83 Filed 06/09/14 Page 2 of 8



      Respondent denies that the flu vaccine caused Abigail’s alleged
mononeuropathy of the 6th cranial nerve and esotropia or any other injury, and further
denies that her current disabilities are a sequela of a vaccine-related injury.

      Nevertheless, the parties agree to the joint stipulation, attached hereto as
“Appendix A.” The undersigned finds said stipulation reasonable and adopts it as the
decision of the Court in awarding damages, on the terms set forth therein.

        Damages awarded in that stipulation include:

        A lump sum of $175,000.00 in the form of a check payable to petitioners,
        Michael T. and Jillian A. Shifflett, as guardians/conservators of Abigail’s
        estate representing compensation for all damages available under 42
        U.S.C. § 300aa-15(a).

       In the absence of a motion for review filed pursuant to RCFC, Appendix B, the
clerk is directed to enter judgment in case 9-745V according to this decision and the
attached stipulation. 2

        Any questions may be directed to my law clerk, Marc Langston, at (202) 357-
6392.

        IT IS SO ORDERED.

                                                    s/ Christian J. Moran
                                                    Christian J. Moran
                                                    Special Master




        2
          Pursuant to Vaccine Rule 11(a), the parties can expedite entry of judgment by each party
filing a notice renouncing the right to seek review by a United States Court of Federal Claims judge.
Case 1:09-vv-00745-UNJ Document 83
                                79 Filed 06/09/14
                                         04/25/14 Page 3
                                                       1 of 8
                                                            6
Case 1:09-vv-00745-UNJ Document 83
                                79 Filed 06/09/14
                                         04/25/14 Page 4
                                                       2 of 8
                                                            6
Case 1:09-vv-00745-UNJ Document 83
                                79 Filed 06/09/14
                                         04/25/14 Page 5
                                                       3 of 8
                                                            6
Case 1:09-vv-00745-UNJ Document 83
                                79 Filed 06/09/14
                                         04/25/14 Page 6
                                                       4 of 8
                                                            6
Case 1:09-vv-00745-UNJ Document 83
                                79 Filed 06/09/14
                                         04/25/14 Page 7
                                                       5 of 8
                                                            6
Case 1:09-vv-00745-UNJ Document 83
                                79 Filed 06/09/14
                                         04/25/14 Page 8
                                                       6 of 8
                                                            6
